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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


Michelle H. , by her next friend Tamara       )
Coppinger, et al.,                            )
                                              )
                       Plaintiffs,            )         Civil Action No. 2: 15-134-RMG
                                              )
               vs.                            )
                                              )
Henry Dargan McMaster, in his official        )
capacity as Governor of South Carolina,       )
and Susan Alford, as State Director of the    )
South Carolina Department of Social           )         ORDER
Services,                                     )
                                              )
                       Defendants.            )
                                              )


       The Court conducted a status conference on December 4, 2018 to discuss the findings and

recommendations of the Co-Monitors in their report of September 18, 2018 . At the conclusion

of the presentation of Ms. Judy Meltzer and the Co-Monitors' work force consultant, Ms. Sue

Steib, and the responses of the parties, the Court advised the parties that the time for designing

and adopting plans for action was coming to an end and it was now necessary to implement

meaningful reforms necessary to meet the benchmarks and standards of the October 4, 2016

Settlement Agreement. To facilitate the implementation of these reforms, the Court enters the

following order:

       1.      Beginning in January 2019, the Court will conduct monthly status conferences.

               The first monthly status conference will be on January 11 , 2019 at 9:00 a.m.;

       2.      Prior to the January status conference, the South Carolina Department of Social


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        Services ("DSS") shall appoint senior staff responsible for three primary areas of

        reform under the Settlement Agreement: workloads, placement, and health care.

        These individuals will be responsible for monitoring and implementing reforms

        mandated by the Settlement Agreement and final plans and must be prepared to

        address progress made at monthly status conferences. DSS shall identify to the

        Court the persons assigned these three areas within ten days of this order;

  3.    The following are directed to attend the monthly status conferences: the Acting

        Director of DSS (and the permanent Director, once appointed), the Deputy

        Director of Child Welfare Services, the three DSS staff persons assigned

        responsibilities set forth in Paragraph Two above, the Co-Monitors, and counsel

        for the parties;

  4.    DSS shall submit to the Court a completed work force plan approved by the

        Co-Monitors three business days before the January status conference. This

        plan shall incorporate the major recommendations of the Steib report including,

        but not limited to, a new salary plan that produces a living wage for child welfare

        staff, and opportunities for salary and professional advancement. The Court

        recommends that DSS consider a salary plan that provides for annual salary

        increases and increases in pay based on professional degrees/credentials earned,

        similar to the South Carolina public school teacher pay scale;

  5.    DSS shall submit to the Court a completed placement plan approved by the Co-

        Monitors three business days before the January status conference. This plan shall

        include, but not be limited to, an increase in the daily rate for foster parents


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              reflective of the cost of raising a child in the southern region, and a robust kinship

              program for foster parents;

       6.     DSS shall be prepared to report to the Court at the January status conference

              the current status of its development of its final health care plan and safety

              monitoring plan for congregant child placements; and

       7.     The parties are directed to schedule a mediation session with Judge Michael P.

              Duffy prior to the scheduled January status conference in an effort to resolve areas

              of difference between the parties and to address areas of continuing concern.

       AND IT IS SO ORDERED.




                                                     Richard Mark
                                                     United States


December S~2018
Charleston, South Carolina




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